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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

 UNITED STATES OF AMERICA,

                        Plaintiff,                                   4:14CR3073

        vs.
                                                     DETENTION ORDER PENDING TRIAL
 TARA SWITZER,

                        Defendant.

        After conducting a detention hearing under the Bail Reform Act, 18 U.S.C. §
 3142(f), the court concludes the defendant must be detained pending trial.

        Based on the evidence presented,, the court finds by clear and convincing
 evidence that defendant’s release would pose a serious risk of harm to herself and the
 community and a risk of defendant's nonappearance at court proceedings, and no
 condition or combination of conditions of release will sufficiently ameliorate that risk.

         Specifically, the court finds that the defendant has a substance abuse addiction or
 abuses mood-altering chemicals and is likely to continue such conduct and violate the
 law if released; is homeless, with limited employment and financial ties to the
 community; and no conditions or combination of conditions are currently available which
 will sufficiently ameliorate the risks posed if the defendant is released.

                              Directions Regarding Detention

         The defendant is committed to the custody of the Attorney General or a
 designated representative for confinement in a corrections facility separate, to the extent
 practicable, from persons awaiting or serving sentences or held in custody pending
 appeal. The defendant must be afforded a reasonable opportunity to consult privately
 with defense counsel. On order of United States Court or on request of an attorney for the
 Government, the person in charge of the corrections facility must deliver the defendant to
 the United States marshal for a court appearance.

        May 30, 2014.

                                              BY THE COURT:

                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
